Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 1 of 16 Pageid#:
                                   19168




                    EXHIBIT 7
     Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 2 of 16 Pageid#:
                                        19169



From:                              Bolton, Eric
Sent:                              Thursday, May 28, 2020 7:46 PM
To:                                jgravatt@dhdglaw.com; dhauck@dhdglaw.com; dcampbell@dhdglaw.com; jek318
                                   @gmail.com; isuecrooks@comcast.net; bryan@bjoneslegal.com;
                                   edward@rebrooklaw.com; dinuccilaw@outlook.com; azzmador@gmail.com;
                                   deplorabletruth@gmail.com; matthew.w.heimbach@gmail.com;
                                   christopher.cantwell@gmail.com; eli.f.mosley@gmail.com;
                                   dillon_hopper@protonmail.com
Subject:                           Sines v. Kessler, Case No. 17-cv-72 (W.D. Va.)
Attachments:                       2020-05-28_Notice of Intent_Depo subpoena to Bradley Griffin.pdf; 2020-05-28_Notice
                                   of Intent_Depo subpoena to Robert Isaacs.pdf


On behalf of Plaintiffs’ Counsel, attached please find notices of intent to serve subpoenas to testify at a deposition for
Robert Isaacs and Bradley Dean Griffin.

Sincerely
Eric Bolton
Cooley LLP




                                                              1
Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 3 of 16 Pageid#:
                                   19170



                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, THOMAS BAKER and JOHN
   DOE,

                                  Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
                                                Civil Action No. 3: 17-cv-00072-NKM
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS, LEAGUE
   OF THE SOUTH, JEFF SCHOEP, NATIONAL
   SOCIALIST MOVEMENT, NATIONALIST
   FRONT, AUGUSTUS SOL INVICTUS,
   FRATERNAL ORDER OF THE ALT-
   KNIGHTS, LOYAL WHITE KNIGHTS OF THE
   KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                                 Defendants.




                   NOTICE OF INTENT TO SERVE SUBPOENA
Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 4 of 16 Pageid#:
                                   19171



           PLEASE TAKE NOTICE that pursuant to Rule 45 of the Federal Rules of Civil

 Procedure, Plaintiffs, by and through their undersigned counsel, hereby provide notice that they

 intend to serve the attached Subpoena to Testify at a Deposition in a Civil Action directed to Robert

 Isaacs.

 Dated: May 28, 2020

                                                        /s/ Alan Levine
                                                        Alan Levine (pro hac vice)
                                                        Daniel P. Roy III (pro hac vice)
                                                        Amanda L. Liverzani (pro hac vice)
                                                        COOLEY LLP
                                                        55 Hudson Yards
                                                        New York, NY 10001
                                                        Telephone: (212) 479-6260
                                                        Fax: (212) 479-6275
                                                        alevine@cooley.com
                                                        droy@cooley.com
                                                        aliverzani@cooley.com


 Of Counsel:

  Roberta A. Kaplan (pro hac vice)                    Robert T. Cahill (VSB 38562)
  Julie E. Fink (pro hac vice)                        Scott W. Stemetzki (VSB 86246)
  Gabrielle E. Tenzer (pro hac vice)                  COOLEY LLP
  Michael L. Bloch (pro hac vice)                     11951 Freedom Drive, 14th Floor
  Alexandra K. Conlon (pro hac vice)                  Reston, VA 20190-5656
  Emily C. Cole (pro hac vice)                        Telephone: (703) 456-8000
  Jonathan R. Kay (pro hac vice)                      Fax: (703) 456-8100
  KAPLAN HECKER & FINK, LLP                           rcahill@cooley.com
  350 Fifth Avenue, Suite 7110                        sstemetzki@cooley.com
  New York, NY 10118
  Telephone: (212) 763-0883                           Yotam Barkai (pro hac vice)
  rkaplan@kaplanhecker.com                            BOIES SCHILLER FLEXNER LLP
  jfink@kaplanhecker.com                              55 Hudson Yards, 20th Floor
  gtenzer@kaplanhecker.com                            New York, NY 10001
  mbloch@kaplanhecker.com                             Telephone: (212) 446-2300
  aconlon@kaplanhecker.com                            Fax: (212) 446-2350
  ecole@kaplanhecker.com                              ybarkai@bsfllp.com
  jkay@kaplanhecker.com




                                                  2
Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 5 of 16 Pageid#:
                                   19172



  David E. Mills (pro hac vice)            Karen L. Dunn (pro hac vice)
  Joshua M. Siegel (VSB 73416)             Jessica E. Phillips (pro hac vice)
  Caitlin B. Munley (pro hac vice)         William A. Isaacson (pro hac vice)
  COOLEY LLP                               Katherine M. Cheng
  1299 Pennsylvania Avenue, NW             BOIES SCHILLER FLEXNER LLP
  Suite 700                                1401 New York Ave, NW
  Washington, DC 20004                     Washington, DC 20005
  Telephone: (202) 842-7800                Telephone: (202) 237-2727
  Fax: (202) 842-7899                      Fax: (202) 237-6131
  dmills@cooley.com                        kdunn@bsfllp.com
  jsiegel@cooley.com                       jphillips@bsfllp.com
  cmunley@cooley.com                       wisaacson@bsfllp.com
                                           kcheng@bsfllp.com

                                           John B. Rottenborn (VSB No. 84796)
                                           Woods Rogers PLC
                                           10 South Jefferson Street, Suite 1400
                                           Roanoke, Va. 24011
                                           Telephone: (540) 983-7600
                                           Fax: (540) 983-7711
                                           brottenborn@woodsrogers.com


                                           Counsel for Plaintiffs




                                       3
Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 6 of 16 Pageid#:
                                   19173



                                        CERTIFICATE OF SERVICE

         I hereby certify that on May 28, 2020, I served the foregoing upon following counsel and
 pro se defendants, via electronic mail, as follows:

  Justin Saunders Gravatt                                   James E. Kolenich
  David L. Hauck                                            Kolenich Law Office
  David L. Campbell                                         9435 Waterstone Blvd. #140
  Duane, Hauck, Davis & Gravatt, P.C.                       Cincinnati, OH 45249
  100 West Franklin Street, Suite 100                       jek318@gmail.com
  Richmond, VA 23220
  jgravatt@dhdglaw.com                                      Elmer Woodard
  dhauck@dhdglaw.com                                        5661 US Hwy 29
  dcampbell@dhdglaw.com                                     Blairs, VA 24527
                                                            isuecrooks@comcast net
  Counsel for Defendant James A. Fields, Jr.
                                                            Counsel for Defendants Matthew Parrott,
  Bryan Jones                                               Traditionalist Worker Party, Jason Kessler, Nathan
  106 W. South St., Suite 211                               Damigo, and Identity Europa, Inc. (Identity Evropa)
  Charlottesville, VA 22902
  bryan@bjoneslegal.com                                     John A. DiNucci
                                                            Law Office of John A. DiNucci
  Counsel for Defendants Michael Hill,                      8180 Greensboro Drive, Suite 1150
  Michael Tubbs, and League of the South                    McLean, VA 22102
                                                            dinuccilaw@outlook.com
  W. Edward ReBrook
  The ReBrook Law Office                                    Counsel for Defendant Richard Spencer
  6013 Clerkenwell Court
  Burke, VA 22015                                           Robert Ray
  edward@rebrooklaw.com                                     azzmador@gmail.com

  Counsel for Defendants National Socialist Movement,       Vanguard America
  Nationalist Front and Jeff Schoep                         c/o Dillon Hopper
                                                            dillon_hopper@protonmail.com
  Matthew Heimbach
  matthew.w heimbach@gmail.com                              Elliott Kline
                                                            eli.f.mosley@gmail.com
  Christopher Cantwell                                      deplorabletruth@gmail.com
  christopher.cantwell@gmail.com


                                                               /s/ Alan Levine
                                                               Alan Levine (pro hac vice)
                                                               COOLEY LLP
                                                               55 Hudson Yards
                                                               New York, NY 10001
                                                               Telephone: (212) 479-6260
                                                               Fax: (212) 479-6275
                                                               alevine@cooley.com

                                                               Counsel for Plaintiffs


                                                        4
       Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 7 of 16 Pageid#:
                                          19174
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                         Western District
                                                       __________ DistrictofofVirginia
                                                                               __________

                                                                )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      
                                                                  )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:      Robert Isaacs (a.k.a. "Ike Baker", "Isaac Baker"), in care of: Bryan J. Jones, LLC, Attorney at Law,
          106 W. South St., Suite 201, Charlottesville, VA 22902
                                                       (Name of person to whom this subpoena is directed)

        Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:


 Place:                                                                                Date and Time:
            Remote via video conference                                                                     June 12, 2020 @ 9:30 a.m.

                                                          stenographic means, and also will be recorded by video means and
          The deposition will be recorded by this method: through the instant visual display of the testimony

          Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:      May 28, 2020
                                   CLERK OF COURT
                                                                                         OR
                                                                                                                 ! ! ( ) 
                                           Signature of Clerk or Deputy Clerk                                   Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)      * ++
                                                                        , who issues or requests this subpoena, are:
( )  , ))*                  -'  .'        / .0 .   1,$ 23 4#5

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
      Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 8 of 16 Pageid#:
                                         19175
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

              I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

              I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $      .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
      Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 9 of 16 Pageid#:
                                         19176
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 10 of 16 Pageid#:
                                    19177



                               81,7('67$7(6',675,&7&2857
                           )257+(:(67(51',675,&72)9,5*,1,$
                                    &KDUORWWHVYLOOH'LYLVLRQ
      

          (/,=$%(7+6,1(66(7+:,63(/:(<               
          0$5,66$%/$,5$35,/081,=0$5&86             
          0$57,11$7$/,(520(52&+(/6($                
          $/9$5$'27+20$6%$.(5DQG-2+1                
          '2(                                          
                                                          
                                           3ODLQWLIIV   
          Y                                             
                                                         
          -$621.(66/(55,&+$5'63(1&(5
                                                          
          &+5,6723+(5&$17:(//-$0(6
                                                          &LYLO$FWLRQ1RFY1.0
          $/(;),(/'6-59$1*8$5'
                                                          
          $0(5,&$$1'5(:$1*/,1
                                                          
          0221%$6(+2/',1*6//&52%(57
                                                          
          ³$==0$'25´5$<1$7+$1'$0,*2
          (//,27./,1(DND(/,026(/<                
          ,'(17,7<(9523$0$77+(:                       
          +(,0%$&+0$77+(:3$55277DND
          '$9,'0$77+(:3$55277
          75$',7,21$/,67:25.(53$57<
          0,&+$(/+,//0,&+$(/78%%6/($*8(
          2)7+(6287+-())6&+2(31$7,21$/
          62&,$/,67029(0(171$7,21$/,67
          )5217$8*8678662/,19,&786
          )5$7(51$/25'(52)7+($/7
          .1,*+76/2<$/:+,7(.1,*+762)7+(
          .8./8;./$1DQG($67&2$67
          .1,*+762)7+(.8./8;./$1DND
          ($67&2$67.1,*+762)7+(758(
          ,19,6,%/((03,5(
          
                                        'HIHQGDQWV
      
                                                  
  
                            127,&(2),17(17726(59(68%32(1$
              
Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 11 of 16 Pageid#:
                                    19178



          3/($6( 7$.( 127,&( WKDW SXUVXDQW WR 5XOH  RI WKH )HGHUDO 5XOHV RI &LYLO

  3URFHGXUH3ODLQWLIIVE\DQGWKURXJKWKHLUXQGHUVLJQHGFRXQVHOKHUHE\SURYLGHQRWLFHWKDWWKH\

  LQWHQG WR VHUYH WKH DWWDFKHG 6XESRHQD WR 7HVWLI\ DW D 'HSRVLWLRQ LQ D &LYLO $FWLRQ GLUHFWHG WR

  %UDGOH\'HDQ*ULIILQ

  'DWHG0D\
                               
                                                      /s/ Alan Levine
                                                             $ODQ/HYLQH pro hac vice 
                                                             'DQLHO35R\,,, pro hac vice 
                                                             $PDQGD//LYHU]DQL pro hac vice 
                                                             &22/(<//3
                                                             +XGVRQ<DUGV
                                                             1HZ<RUN1<
                                                             7HOHSKRQH  
                                                             )D[  
                                                             DOHYLQH#FRROH\FRP
                                                             GUR\#FRROH\FRP
                                                             DOLYHU]DQL#FRROH\FRP
  
                                                             
  Of Counsel
  
    5REHUWD$.DSODQ pro hac vice                      5REHUW7&DKLOO 96% 
    -XOLH()LQN pro hac vice                          6FRWW:6WHPHW]NL 96% 
    *DEULHOOH(7HQ]HU pro hac vice                    &22/(<//3
    0LFKDHO/%ORFK pro hac vice                       )UHHGRP'ULYHWK)ORRU
    $OH[DQGUD.&RQORQ pro hac vice                    5HVWRQ9$
    (PLO\&&ROH pro hac vice                          7HOHSKRQH  
    -RQDWKDQ5.D\ pro hac vice                        )D[  
    .$3/$1+(&.(5 ),1.//3                            UFDKLOO#FRROH\FRP
    )LIWK$YHQXH6XLWH                         VVWHPHW]NL#FRROH\FRP
    1HZ<RUN1<                                   
    7HOHSKRQH                              <RWDP%DUNDL pro hac vice 
    UNDSODQ#NDSODQKHFNHUFRP                             %2,(66&+,//(5)/(;1(5//3
    MILQN#NDSODQKHFNHUFRP                               +XGVRQ<DUGVWK)ORRU
    JWHQ]HU#NDSODQKHFNHUFRP                             1HZ<RUN1<
    PEORFK#NDSODQKHFNHUFRP                              7HOHSKRQH  
    DFRQORQ#NDSODQKHFNHUFRP                             )D[  
    HFROH#NDSODQKHFNHUFRP                               \EDUNDL#EVIOOSFRP
    MND\#NDSODQKHFNHUFRP                                
                                                         
                                                         

                                                        
  
Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 12 of 16 Pageid#:
                                    19179



      'DYLG(0LOOV pro hac vice        .DUHQ/'XQQ pro hac vice 
      -RVKXD06LHJHO 96%         -HVVLFD(3KLOOLSV pro hac vice 
      &DLWOLQ%0XQOH\ pro hac vice     :LOOLDP$,VDDFVRQ pro hac vice 
      &22/(<//3                          .DWKHULQH0&KHQJ
      3HQQV\OYDQLD$YHQXH1:        %2,(66&+,//(5)/(;1(5//3
      6XLWH                           1HZ<RUN$YH1:
      :DVKLQJWRQ'&                :DVKLQJWRQ'&
      7HOHSKRQH             7HOHSKRQH  
      )D[                   )D[  
      GPLOOV#FRROH\FRP                   NGXQQ#EVIOOSFRP
      MVLHJHO#FRROH\FRP                  MSKLOOLSV#EVIOOSFRP
      FPXQOH\#FRROH\FRP                  ZLVDDFVRQ#EVIOOSFRP
                                          NFKHQJ#EVIOOSFRP
                                          
                                          -RKQ%5RWWHQERUQ 96%1R 
                                           :RRGV5RJHUV3/&
                                           6RXWK-HIIHUVRQ6WUHHW6XLWH
                                           5RDQRNH9D
                                           7HOHSKRQH  
                                           )D[  
                                           EURWWHQERUQ#ZRRGVURJHUVFRP
                                           
                                           
                                           Counsel for Plaintiffs
  




                                          
  
Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 13 of 16 Pageid#:
                                    19180



                                          &(57,),&$7(2)6(59,&(

          ,KHUHE\FHUWLI\WKDWRQ0D\,VHUYHGWKHIRUHJRLQJXSRQIROORZLQJFRXQVHODQG
  pro seGHIHQGDQWVYLDHOHFWURQLFPDLODVIROORZV
          
      -XVWLQ6DXQGHUV*UDYDWW                               -DPHV(.ROHQLFK                                    
      'DYLG/+DXFN                                        .ROHQLFK/DZ2IILFH
      'DYLG/&DPSEHOO                                     :DWHUVWRQH%OYG
      'XDQH+DXFN'DYLV *UDYDWW3&                  &LQFLQQDWL2+
      :HVW)UDQNOLQ6WUHHW6XLWH                  MHN#JPDLOFRP
      5LFKPRQG9$
      MJUDYDWW#GKGJODZFRP                                  (OPHU:RRGDUG
      GKDXFN#GKGJODZFRP                                    86+Z\
      GFDPSEHOO#GKGJODZFRP                                 %ODLUV9$
                                                            LVXHFURRNV#FRPFDVW QHW
      Counsel for Defendant James A. Fields, Jr.             
                                                             Counsel for Defendants Matthew Parrott,
      %U\DQ-RQHV                                           Traditionalist Worker Party, Jason Kessler, Nathan
      :6RXWK6W6XLWH                           Damigo, and Identity Europa, Inc. (Identity Evropa)
      &KDUORWWHVYLOOH9$
      EU\DQ#EMRQHVOHJDOFRP                                 -RKQ$'L1XFFL
                                                            /DZ2IILFHRI-RKQ$'L1XFFL
      Counsel for Defendants Michael Hill,                   *UHHQVERUR'ULYH6XLWH
      Michael Tubbs, and League of the South                 0F/HDQ9$
                                                             GLQXFFLODZ#RXWORRNFRP
      :(GZDUG5H%URRN                                     
      7KH5H%URRN/DZ2IILFH                                Counsel for Defendant Richard Spencer
      &OHUNHQZHOO&RXUW                                
      %XUNH9$                                       5REHUW5D\
      HGZDUG#UHEURRNODZFRP                                 D]]PDGRU#JPDLOFRP
                                                            
      Counsel for Defendants National Socialist Movement,    9DQJXDUG$PHULFD
      Nationalist Front and Jeff Schoep                      FR'LOORQ+RSSHU
                                                             GLOORQBKRSSHU#SURWRQPDLOFRP
      0DWWKHZ+HLPEDFK                                      
      PDWWKHZZ KHLPEDFK#JPDLOFRP                          (OOLRWW.OLQH
                                                            HOLIPRVOH\#JPDLOFRP
      &KULVWRSKHU&DQWZHOO                                  GHSORUDEOHWUXWK#JPDLOFRP
      FKULVWRSKHUFDQWZHOO#JPDLOFRP
  

                                                                 /s/ Alan Levine
                                                                 $ODQ/HYLQH pro hac vice 
                                                                 &22/(<//3
                                                                 +XGVRQ<DUGV
                                                                 1HZ<RUN1<
                                                                 7HOHSKRQH  
                                                                 )D[  
                                                                 DOHYLQH#FRROH\FRP

                                                                 Counsel for Plaintiffs


                                                            
  
     Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 14 of 16 Pageid#:
                                         19181
$2$ 5HY 6XESRHQDWR7HVWLI\DWD'HSRVLWLRQLQD&LYLO$FWLRQ


                                        81,7(' 67$7(6 ',675,&7 &2857
                                                                              IRUWKH
                                                       :HVWHUQ'LVWULFWRI9LUJLQLD
                                                        BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                     )PM^EFIXL 7MRIW IX EP
                                3ODLQWLII
                                   Y                                                   &LYLO$FWLRQ1R     GZ2/1.',
                      .EWSR /IWWPIV IX EP

                              'HIHQGDQW

                              68%32(1$727(67,)<$7$'(326,7,21,1$&,9,/$&7,21

 7R        #SBEMFZ%FBO(SJGGJO JODBSFPG#SZBO++POFT --$ "UUPSOFZBU-BX 
            84PVUI4U 4VJUF $IBSMPUUFTWJMMF 7"
                                                         1DPHRISHUVRQWRZKRPWKLVVXESRHQDLVGLUHFWHG

        7HVWLPRQ\   <28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWGHVLJQDWHRQHRUPRUHRIILFHUVGLUHFWRUV
RUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXWWKHIROORZLQJPDWWHUVRU
WKRVHVHWIRUWKLQDQDWWDFKPHQW


 3ODFH                                                                                  'DWHDQG7LPH
             5HPRWHYLDYLGHRFRQIHUHQFH                                                                   -XQH#DP &'7
                                                          VWHQRJUDSKLFPHDQVDQGDOVRZLOOEHUHFRUGHGE\YLGHRPHDQVDQG
          7KHGHSRVLWLRQZLOOEHUHFRUGHGE\WKLVPHWKRG WKURXJKWKHLQVWDQWYLVXDOGLVSOD\RIWKHWHVWLPRQ\

          3URGXFWLRQ<RXRU\RXUUHSUHVHQWDWLYHVPXVWDOVREULQJZLWK\RXWRWKHGHSRVLWLRQWKHIROORZLQJGRFXPHQWV
          HOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUREMHFWVDQGPXVWSHUPLWLQVSHFWLRQFRS\LQJWHVWLQJRUVDPSOLQJRIWKH
          PDWHULDO




       7KHIROORZLQJSURYLVLRQVRI)HG5&LY3DUHDWWDFKHG±5XOH F UHODWLQJWRWKHSODFHRIFRPSOLDQFH
5XOH G UHODWLQJWR\RXUSURWHFWLRQDVDSHUVRQVXEMHFWWRDVXESRHQDDQG5XOH H DQG J UHODWLQJWR\RXUGXW\WR
UHVSRQGWRWKLVVXESRHQDDQGWKHSRWHQWLDOFRQVHTXHQFHVRIQRWGRLQJVR

'DWH      0D\
                                   &/(5.2)&2857
                                                                                           25
                                                                                                                 W %PER 0IZMRI
                                            6LJQDWXUHRI&OHUNRU'HSXW\&OHUN                                  $WWRUQH\¶VVLJQDWXUH

7KHQDPHDGGUHVVHPDLODGGUHVVDQGWHOHSKRQHQXPEHURIWKHDWWRUQH\UHSUHVHQWLQJ QDPHRISDUW\       4PEMRXMJJW
                                                                        ZKRLVVXHVRUUHTXHVWVWKLVVXESRHQDDUH
%PER 0IZMRI 'SSPI] 004  ,YHWSR =EVHW 2I[ =SVO 2=  EPIZMRI$GSSPI]GSQ  

                                1RWLFHWRWKHSHUVRQZKRLVVXHVRUUHTXHVWVWKLVVXESRHQD
,IWKLVVXESRHQDFRPPDQGVWKHSURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVEHIRUH
WULDODQRWLFHDQGDFRS\RIWKHVXESRHQDPXVWEHVHUYHGRQHDFKSDUW\LQWKLVFDVHEHIRUHLWLVVHUYHGRQWKHSHUVRQWR
ZKRPLWLVGLUHFWHG)HG5&LY3 D  
     Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 15 of 16 Pageid#:
                                         19182
$2$ 5HY 6XESRHQDWR7HVWLI\DWD'HSRVLWLRQLQD&LYLO$FWLRQ 3DJH

&LYLO$FWLRQ1R GZ2/1.',

                                                      3522)2)6(59,&(
                       7KLVVHFWLRQVKRXOGQRWEHILOHGZLWKWKHFRXUWXQOHVVUHTXLUHGE\)HG5&LY3

        ,UHFHLYHGWKLVVXESRHQDIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
RQ GDWH                       

               ,VHUYHGWKHVXESRHQDE\GHOLYHULQJDFRS\WRWKHQDPHGLQGLYLGXDODVIROORZV


                                                                                      RQ GDWH                      RU

               ,UHWXUQHGWKHVXESRHQDXQH[HFXWHGEHFDXVH
                                                                                                                                 

          8QOHVVWKHVXESRHQDZDVLVVXHGRQEHKDOIRIWKH8QLWHG6WDWHVRURQHRILWVRIILFHUVRUDJHQWV,KDYHDOVR
          WHQGHUHGWRWKHZLWQHVVWKHIHHVIRURQHGD\¶VDWWHQGDQFHDQGWKHPLOHDJHDOORZHGE\ODZLQWKHDPRXQWRI
                                                   

0\IHHVDUH                                       IRUWUDYHODQG                     IRUVHUYLFHVIRUDWRWDORI      


          ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


'DWH
                                                                                            6HUYHU¶VVLJQDWXUH



                                                                                          3ULQWHGQDPHDQGWLWOH




                                                                                            6HUYHU¶VDGGUHVV

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
     Case 3:17-cv-00072-NKM-JCH Document 1150-7 Filed 10/04/21 Page 16 of 16 Pageid#:
                                         19183
$2$ 5HY 6XESRHQDWR7HVWLI\DWD'HSRVLWLRQLQD&LYLO$FWLRQ 3DJH

                             )HGHUDO5XOHRI&LYLO3URFHGXUH F  G  H DQG J  (IIHFWLYH
F 3ODFHRI&RPSOLDQFH                                                                   L GLVFORVLQJDWUDGHVHFUHWRURWKHUFRQILGHQWLDOUHVHDUFKGHYHORSPHQW
                                                                                  RUFRPPHUFLDOLQIRUPDWLRQRU
   )RUD7ULDO+HDULQJRU'HSRVLWLRQ $VXESRHQDPD\FRPPDQGD                       LL GLVFORVLQJDQXQUHWDLQHGH[SHUW¶VRSLQLRQRULQIRUPDWLRQWKDWGRHV
SHUVRQWRDWWHQGDWULDOKHDULQJRUGHSRVLWLRQRQO\DVIROORZV                 QRWGHVFULEHVSHFLILFRFFXUUHQFHVLQGLVSXWHDQGUHVXOWVIURPWKHH[SHUW¶V
    $ ZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRU               VWXG\WKDWZDVQRWUHTXHVWHGE\DSDUW\
UHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQRU                                            & 6SHFLI\LQJ&RQGLWLRQVDVDQ$OWHUQDWLYH,QWKHFLUFXPVWDQFHV
    % ZLWKLQWKHVWDWHZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRUUHJXODUO\        GHVFULEHGLQ5XOH G  % WKHFRXUWPD\LQVWHDGRITXDVKLQJRU
WUDQVDFWVEXVLQHVVLQSHUVRQLIWKHSHUVRQ                                       PRGLI\LQJDVXESRHQDRUGHUDSSHDUDQFHRUSURGXFWLRQXQGHUVSHFLILHG
      L LVDSDUW\RUDSDUW\¶VRIILFHURU                                       FRQGLWLRQVLIWKHVHUYLQJSDUW\
      LL LVFRPPDQGHGWRDWWHQGDWULDODQGZRXOGQRWLQFXUVXEVWDQWLDO                 L VKRZVDVXEVWDQWLDOQHHGIRUWKHWHVWLPRQ\RUPDWHULDOWKDWFDQQRWEH
H[SHQVH                                                                          RWKHUZLVHPHWZLWKRXWXQGXHKDUGVKLSDQG
                                                                                        LL HQVXUHVWKDWWKHVXESRHQDHGSHUVRQZLOOEHUHDVRQDEO\FRPSHQVDWHG
   )RU2WKHU'LVFRYHU\ $VXESRHQDPD\FRPPDQG
   $ SURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRU                   H 'XWLHVLQ5HVSRQGLQJWRD6XESRHQD
WDQJLEOHWKLQJVDWDSODFHZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLV
HPSOR\HGRUUHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQDQG                              3URGXFLQJ'RFXPHQWVRU(OHFWURQLFDOO\6WRUHG,QIRUPDWLRQ 7KHVH
   % LQVSHFWLRQRISUHPLVHVDWWKHSUHPLVHVWREHLQVSHFWHG                      SURFHGXUHVDSSO\WRSURGXFLQJGRFXPHQWVRUHOHFWURQLFDOO\VWRUHG
                                                                                  LQIRUPDWLRQ
G 3URWHFWLQJD3HUVRQ6XEMHFWWRD6XESRHQD(QIRUFHPHQW                             $ 'RFXPHQWV $SHUVRQUHVSRQGLQJWRDVXESRHQDWRSURGXFHGRFXPHQWV
                                                                                  PXVWSURGXFHWKHPDVWKH\DUHNHSWLQWKHRUGLQDU\FRXUVHRIEXVLQHVVRU
   $YRLGLQJ8QGXH%XUGHQRU([SHQVH6DQFWLRQV $SDUW\RUDWWRUQH\              PXVWRUJDQL]HDQGODEHOWKHPWRFRUUHVSRQGWRWKHFDWHJRULHVLQWKHGHPDQG
UHVSRQVLEOHIRULVVXLQJDQGVHUYLQJDVXESRHQDPXVWWDNHUHDVRQDEOHVWHSV             % )RUPIRU3URGXFLQJ(OHFWURQLFDOO\6WRUHG,QIRUPDWLRQ1RW6SHFLILHG
WRDYRLGLPSRVLQJXQGXHEXUGHQRUH[SHQVHRQDSHUVRQVXEMHFWWRWKH              ,IDVXESRHQDGRHVQRWVSHFLI\DIRUPIRUSURGXFLQJHOHFWURQLFDOO\VWRUHG
VXESRHQD7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPXVW            LQIRUPDWLRQWKHSHUVRQUHVSRQGLQJPXVWSURGXFHLWLQDIRUPRUIRUPVLQ
HQIRUFHWKLVGXW\DQGLPSRVHDQDSSURSULDWHVDQFWLRQ²ZKLFKPD\LQFOXGH            ZKLFKLWLVRUGLQDULO\PDLQWDLQHGRULQDUHDVRQDEO\XVDEOHIRUPRUIRUPV
ORVWHDUQLQJVDQGUHDVRQDEOHDWWRUQH\¶VIHHV²RQDSDUW\RUDWWRUQH\ZKR               & (OHFWURQLFDOO\6WRUHG,QIRUPDWLRQ3URGXFHGLQ2QO\2QH)RUP7KH
IDLOVWRFRPSO\                                                                  SHUVRQUHVSRQGLQJQHHGQRWSURGXFHWKHVDPHHOHFWURQLFDOO\VWRUHG
                                                                                  LQIRUPDWLRQLQPRUHWKDQRQHIRUP
   &RPPDQGWR3URGXFH0DWHULDOVRU3HUPLW,QVSHFWLRQ                                ' ,QDFFHVVLEOH(OHFWURQLFDOO\6WRUHG,QIRUPDWLRQ7KHSHUVRQ
    $ $SSHDUDQFH1RW5HTXLUHG$SHUVRQFRPPDQGHGWRSURGXFH                      UHVSRQGLQJQHHGQRWSURYLGHGLVFRYHU\RIHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQ
GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWR           IURPVRXUFHVWKDWWKHSHUVRQLGHQWLILHVDVQRWUHDVRQDEO\DFFHVVLEOHEHFDXVH
SHUPLWWKHLQVSHFWLRQRISUHPLVHVQHHGQRWDSSHDULQSHUVRQDWWKHSODFHRI      RIXQGXHEXUGHQRUFRVW2QPRWLRQWRFRPSHOGLVFRYHU\RUIRUDSURWHFWLYH
SURGXFWLRQRULQVSHFWLRQXQOHVVDOVRFRPPDQGHGWRDSSHDUIRUDGHSRVLWLRQ        RUGHUWKHSHUVRQUHVSRQGLQJPXVWVKRZWKDWWKHLQIRUPDWLRQLVQRW
KHDULQJRUWULDO                                                                UHDVRQDEO\DFFHVVLEOHEHFDXVHRIXQGXHEXUGHQRUFRVW,IWKDWVKRZLQJLV
    % 2EMHFWLRQV $SHUVRQFRPPDQGHGWRSURGXFHGRFXPHQWVRUWDQJLEOH             PDGHWKHFRXUWPD\QRQHWKHOHVVRUGHUGLVFRYHU\IURPVXFKVRXUFHVLIWKH
WKLQJVRUWRSHUPLWLQVSHFWLRQPD\VHUYHRQWKHSDUW\RUDWWRUQH\GHVLJQDWHG      UHTXHVWLQJSDUW\VKRZVJRRGFDXVHFRQVLGHULQJWKHOLPLWDWLRQVRI5XOH
LQWKHVXESRHQDDZULWWHQREMHFWLRQWRLQVSHFWLQJFRS\LQJWHVWLQJRU            E  & 7KHFRXUWPD\VSHFLI\FRQGLWLRQVIRUWKHGLVFRYHU\
VDPSOLQJDQ\RUDOORIWKHPDWHULDOVRUWRLQVSHFWLQJWKHSUHPLVHV²RUWR
SURGXFLQJHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQWKHIRUPRUIRUPVUHTXHVWHG         &ODLPLQJ3ULYLOHJHRU3URWHFWLRQ
7KHREMHFWLRQPXVWEHVHUYHGEHIRUHWKHHDUOLHURIWKHWLPHVSHFLILHGIRU            $ ,QIRUPDWLRQ:LWKKHOG$SHUVRQZLWKKROGLQJVXESRHQDHGLQIRUPDWLRQ
FRPSOLDQFHRUGD\VDIWHUWKHVXESRHQDLVVHUYHG,IDQREMHFWLRQLVPDGH      XQGHUDFODLPWKDWLWLVSULYLOHJHGRUVXEMHFWWRSURWHFWLRQDVWULDOSUHSDUDWLRQ
WKHIROORZLQJUXOHVDSSO\                                                        PDWHULDOPXVW
      L $WDQ\WLPHRQQRWLFHWRWKHFRPPDQGHGSHUVRQWKHVHUYLQJSDUW\               L H[SUHVVO\PDNHWKHFODLPDQG
PD\PRYHWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGIRUDQ                 LL GHVFULEHWKHQDWXUHRIWKHZLWKKHOGGRFXPHQWVFRPPXQLFDWLRQVRU
RUGHUFRPSHOOLQJSURGXFWLRQRULQVSHFWLRQ                                        WDQJLEOHWKLQJVLQDPDQQHUWKDWZLWKRXWUHYHDOLQJLQIRUPDWLRQLWVHOI
      LL 7KHVHDFWVPD\EHUHTXLUHGRQO\DVGLUHFWHGLQWKHRUGHUDQGWKH        SULYLOHJHGRUSURWHFWHGZLOOHQDEOHWKHSDUWLHVWRDVVHVVWKHFODLP
RUGHUPXVWSURWHFWDSHUVRQZKRLVQHLWKHUDSDUW\QRUDSDUW\¶VRIILFHUIURP        % ,QIRUPDWLRQ3URGXFHG,ILQIRUPDWLRQSURGXFHGLQUHVSRQVHWRD
VLJQLILFDQWH[SHQVHUHVXOWLQJIURPFRPSOLDQFH                                    VXESRHQDLVVXEMHFWWRDFODLPRISULYLOHJHRURISURWHFWLRQDV
                                                                                  WULDOSUHSDUDWLRQPDWHULDOWKHSHUVRQPDNLQJWKHFODLPPD\QRWLI\DQ\SDUW\
   4XDVKLQJRU0RGLI\LQJD6XESRHQD                                             WKDWUHFHLYHGWKHLQIRUPDWLRQRIWKHFODLPDQGWKHEDVLVIRULW$IWHUEHLQJ
                                                                                  QRWLILHGDSDUW\PXVWSURPSWO\UHWXUQVHTXHVWHURUGHVWUR\WKHVSHFLILHG
  $ :KHQ5HTXLUHG2QWLPHO\PRWLRQWKHFRXUWIRUWKHGLVWULFWZKHUH             LQIRUPDWLRQDQGDQ\FRSLHVLWKDVPXVWQRWXVHRUGLVFORVHWKHLQIRUPDWLRQ
FRPSOLDQFHLVUHTXLUHGPXVWTXDVKRUPRGLI\DVXESRHQDWKDW                      XQWLOWKHFODLPLVUHVROYHGPXVWWDNHUHDVRQDEOHVWHSVWRUHWULHYHWKH
                                                                                  LQIRUPDWLRQLIWKHSDUW\GLVFORVHGLWEHIRUHEHLQJQRWLILHGDQGPD\SURPSWO\
      L IDLOVWRDOORZDUHDVRQDEOHWLPHWRFRPSO\                               SUHVHQWWKHLQIRUPDWLRQXQGHUVHDOWRWKHFRXUWIRUWKHGLVWULFWZKHUH
      LL UHTXLUHVDSHUVRQWRFRPSO\EH\RQGWKHJHRJUDSKLFDOOLPLWV               FRPSOLDQFHLVUHTXLUHGIRUDGHWHUPLQDWLRQRIWKHFODLP7KHSHUVRQZKR
VSHFLILHGLQ5XOH F                                                           SURGXFHGWKHLQIRUPDWLRQPXVWSUHVHUYHWKHLQIRUPDWLRQXQWLOWKHFODLPLV
      LLL UHTXLUHVGLVFORVXUHRISULYLOHJHGRURWKHUSURWHFWHGPDWWHULIQR      UHVROYHG
H[FHSWLRQRUZDLYHUDSSOLHVRU
      LY VXEMHFWVDSHUVRQWRXQGXHEXUGHQ                                        J &RQWHPSW
  % :KHQ3HUPLWWHG7RSURWHFWDSHUVRQVXEMHFWWRRUDIIHFWHGE\D               7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHG²DQGDOVRDIWHUD
VXESRHQDWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPD\RQ         PRWLRQLVWUDQVIHUUHGWKHLVVXLQJFRXUW²PD\KROGLQFRQWHPSWDSHUVRQ
PRWLRQTXDVKRUPRGLI\WKHVXESRHQDLILWUHTXLUHV                              ZKRKDYLQJEHHQVHUYHGIDLOVZLWKRXWDGHTXDWHH[FXVHWRREH\WKH
                                                                                  VXESRHQDRUDQRUGHUUHODWHGWRLW


                                        )RUDFFHVVWRVXESRHQDPDWHULDOVVHH)HG5&LY3 D &RPPLWWHH1RWH  
